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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       JAMES JOHN RANGEL,                                Case No. 21-cv-07156-HSG
                                   8                     Plaintiff,                          AMENDED ORDER OF TRANSFER1
                                   9              v.

                                  10       FULLERTON POLICE DEPARTMENT,
                                  11                     Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff filed this pro se civil rights action pursuant to 42 U.S.C. § 1983. Plaintiff brings

                                  14   suit against the Fullerton Police Department complaining about injuries suffered on December 10,

                                  15   2019, when he was bitten by a police dog during an arrest being carried out by officers from the

                                  16   Fullerton Police Department and the Anaheim Police Department. Dkt. No. 1 at 4. Plaintiff states

                                  17   that he is presently confined in Santa Ana Jail. Section 1391(b) of the United States Code, title 28,

                                  18   provides that venue for a civil action is proper in either the judicial district in which any defendant

                                  19   resides or in the judicial district in which a substantial part of the events or omissions giving rise

                                  20   to the claim occurred. 28 U.S.C. § 1391(b). Neither plaintiff nor defendant resides in this district,

                                  21   and the relevant event did not occur in this district. The Court presumes that the event took place

                                  22   in either Anaheim or Fullerton. Both Anaheim and Fullerton are located in the Central District of

                                  23   California. See 28 U.S.C. § 84(c). Venue therefore properly lies in the Central District. See id. §

                                  24   1391(b).

                                  25          Accordingly, IT IS ORDERED that, in the interest of justice and pursuant to 28 U.S.C.

                                  26   § 1406(a), this action be TRANSFERRED to the United States District Court for the Central

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                                  28    This amended order of transfer properly identifies the correct transfer district as the Central
                                       District of California, not the Eastern District of California.
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                                   1   District of California. The Clerk is directed to send a courtesy copy of this order to the following

                                   2   address: James John Rangel #222741, Santa Ana Jail M-88, P.O. Box 22003, Santa Ana, CA

                                   3   92702. Plaintiff has indicated that he is currently housed at the Santa Ana Jail.

                                   4          IT IS SO ORDERED.

                                   5   Dated: 11/16/2021

                                   6                                                    ______________________________________
                                                                                        HAYWOOD S. GILLIAM, JR.
                                   7                                                    United States District Judge
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Northern District of California
 United States District Court




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